                            Case 1:21-mj-00418-GMH Document 6 Filed 05/11/21 Page 1 of 8
AO 442 (Rev. ll/ll)    Arrest Warrant




                                             UNITED STATES DISTRICT COURT
                                                                        for the

                                                                District of Columbia

                      United States of America
                                   v.
                                                                          ) Case: 1:2,1-mj-00418
                                                                          ) Assigned to: Judge Harvey, G. Midhae~
                                                                          ) Assign Dale"; 5.17.1"2021
                                                                          ) Description: COMPLAINT W1J\RREST' WARRAN~
                                                                          )
             GARY LAIRD WICKERSHAM                                        )
                               Defendant


                                                            ARREST WARRANT
To:       Any authorized law enforcement officer


          YOU ARE COMMANDED                      to arrest and bring before a United States magistrate judge without unnecessary delay
(name of person to be arrested)                                           Gary Laird Wickersham
who is accused of an offense or violation based on the following document filed with the court:

o     Indictment            0 Superseding Indictment              0 Information        0 Superseding Information               N    Complaint
o     Probation Violation Petition               0 Supervised Release Violation Petition            o Violation    Notice         0 Order of the Court

This offense is briefly described as follows:

 18 U.S.c.     § 1752(a)(I)        - Knowingly      Entering   or Remaining     in any Restricted     Building     or Grounds Without
                                    Lawful Authority;
40 U.S.C. § 5104(e)(2)             - Violent Entry and Disorderly      Conduct     on Capitol Grounds.
                                                                                                          Digitally signed by
                                                                                                          G. Michael Harvey
                                                                                                          Date: 2021.05.07
                                                                                                          13:32:14 -04'00'
Date: _~M,-,-=aYJ-L;7
                  ,,....,2,,-,,0,,,,2",,,--1_
                                                                                                    Issuing officer's signature


City and state:                         Washington, D. C.                            G. Michael      Harvey, U.S. Magistrate            Judge
                                                                                                      Printed name and title


                                                                       Return

                                                                202/




                                                                                                      Printed name and title        7
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                          /s/ Marilyn Heffley
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AO 94 (Rev. 06/09) Commitment to Another District



                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                    Eastern District of Pennsylvania

                  United States of America                          )
                             v.                                     )
                                                                    )       Case No.   21-837-M
                                                                    )
             GARY LAIRD WICKERSHAM                                  )         Charging District’s
                           Defendant                                )         Case No.            21-mj-00418

                                            COMMITMENT TO ANOTHER DISTRICT

          The defendant has been ordered to appear in the               USDC for the      District of    Columbia        ,
(if applicable)                                     division. The defendant may need an interpreter for this language:
                                                              .


          The defendant:        ☒ will retain an attorney.

                                ☐ is requesting court-appointed counsel.

          The defendant remains in custody after the initial appearance.

         IT IS ORDERED: The United States marshal must transport the defendant, together with a copy of this order,
to the charging district and deliver the defendant to the United States marshal for that district, or to another officer
authorized to receive the defendant. The marshal or officer in the charging district should immediately notify the United
States attorney and the clerk of court for that district of the defendant’s arrival so that further proceedings may be
promptly scheduled. The clerk of this district must promptly transmit the papers and any bail to the charging district.



Date:     May 11, 2021                                                                  /s/ Marilyn Heffley
                                                                                          Judge’s signature

                                                                              Marilyn Heffley, U.S. MagistrateJudge
                                                                                        Printed name and title
5/12/2021               Case 1:21-mj-00418-GMH       Document
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                                                                                District            Page 7 of 8
                                                                                         of Pennsylvania

                                                                                                                  CLOSED

                                          United States District Court
                                 Eastern District of Pennsylvania (Philadelphia)
                              CRIMINAL DOCKET FOR CASE #: 2:21-mj-00837-1


 Case title: USA v. WICKERSHAM                                                   Date Filed: 05/11/2021
                                                                                 Date Terminated: 05/11/2021

 Assigned to: Unassigned

 Defendant (1)
 GARY LAIRD WICKERSHAM                                                represented by MICHAEL G. NOONE
 TERMINATED: 05/11/2021                                                              KAUFMAN COREN RESS & WEIDMAN,
                                                                                     PC
                                                                                     1525 LOCUST ST., 17TH FL
                                                                                     PHILADELPHIA, PA 19102
                                                                                     TEL 215-735-8700
                                                                                     LEAD ATTORNEY
                                                                                     ATTORNEY TO BE NOTICED
                                                                                     Designation: Retained

 Pending Counts                                                                  Disposition
 None

 Highest Offense Level (Opening)
 None

 Terminated Counts                                                               Disposition
 None

 Highest Offense Level (Terminated)
 None

 Complaints                                                                      Disposition
 18:1752(a)(1) - KNOWINGLY ENTERING
 OR REMAINING IN ANY RESTRICTED
 BUILDING OR GROUNDS WITHOUT
 LAWFUL AUTHORITY; 40:5104(e)(2) -
 VIOLENT ENTRY AND DISORDERLY
 CONDUCT ON CAPITAL GROUNDS



 Plaintiff
 USA                                                                  represented by MATTHEW TODD NEWCOMER

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                                                                                 DEPARTMENT OF JUSTICE
                                                                                 615 CHESTNUT STREET
                                                                                 SUITE 1250
                                                                                 PHILADELPHIA, PA 19106
                                                                                 215-861-8284
                                                                                 Email: matthew.newcomer@usdoj.gov
                                                                                 LEAD ATTORNEY
                                                                                 ATTORNEY TO BE NOTICED
                                                                                 Designation: Assistant US Attorney

  Date Filed            # Docket Text
  05/11/2021                Arrest (Rule 40) of GARY LAIRD WICKERSHAM (tomg, ) (Entered: 05/11/2021)
  05/11/2021           1 Minute Entry for proceedings held before MAGISTRATE JUDGE MARILYN HEFFLEY:
                         Initial Appearance in Rule 5(c)(3) Proceedings as to GARY LAIRD WICKERSHAM held
                         on 5/11/2021. The Govt and defense have agreed to conditions of release. See attached
                         conditions of release order. Signed by United States Magistrate Judge Marilyn Heffley.
                         Court Reporter: ESR.(tomg, ) (Entered: 05/11/2021)
  05/11/2021           2 WAIVER of Rule 5(c)(3) Hearing by GARY LAIRD WICKERSHAM (tomg, ) (Entered:
                         05/11/2021)
  05/11/2021           3 ORDER SETTING CONDITIONS OF RELEASE AS TO GARY LAIRD WICKERSHAM
                         THAT THE DEFT IS RELEASED ON BAIL WITH THE FOLLOWING CONDITIONS
                         AS OUTLINED HEREIN. Signed by MAGISTRATE JUDGE MARILYN HEFFLEY on
                         5/11/2021.5/11/2021 Entered and Copies NOT Mailed and E-Mailed. (tomg, ) (Entered:
                         05/11/2021)
  05/11/2021           4 COMMITMENT TO ANOTHER DISTRICT AS TO GARY LAIRD WICKERSHAM.
                         DEFENDANT COMMITTED TO DISTRICT OF COLUMBIA.. Signed by
                         MAGISTRATE JUDGE MARILYN HEFFLEY on 5/11/2021.5/11/2021 Entered and
                         Copies NOT Mailed and E-Mailed. (tomg, ) (Entered: 05/11/2021)
  05/12/2021                DOC. #3 AND #4 MAILED TO MICHAEL NOONE AS TO GARY LAIRD
                            WICKERSHAM (tomg, ) (Entered: 05/12/2021)



                                                        PACER Service Center
                                                             Transaction Receipt
                                                               05/12/2021 09:55:24
                                   PACER
                                                    BrittanyBryant:6635828:0 Client Code:
                                   Login:
                                                                              Search        2:21-mj-
                                   Description:     Docket Report
                                                                              Criteria:     00837
                                   Billable
                                                    1                         Cost:         0.10
                                   Pages:
                                                                              Exempt
                                   Exempt flag:     Exempt                                  Always
                                                                              reason:


PACER fee: Exempt



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